 Case 2:07-cr-00143-SRC                  Document 323             Filed 07/18/12            Page 1 of 1 PageID: 1650



                                           UNITED STATES DIST
                                                              RICT
                                              DISTRICT OF NEW JE COURT
                                                                 RSEY
                                             UNITED STAT
                                    Crim. No. 07-143 (SRC), ES v, 1-IALEEK STATE
                                                            SBI#513I4
                                                                                 2C,

                                       PETITION FO
                         WRIT OF HAflE             R
                                       AS CORPUSA
                                                  DPROSEQU                                         ENDUM
      1, Haleek State, SBI4 5 13
      Department of Corrections.142C,                       (hereinafter the “Detaine
                                   New Jersey State Prison                               e”) is now confined at the
                                                            .                                                       New Jersey
     2. The Detainee is charge
                                d in this District by Indictm
                                                              ent with a violation of
     3. The Detainee will return                                                         18 LS.C, § 1962 & 196
                                  to the custody of the det                                                        3.
                                                             aining facility upon termi
    4. The Detainee will be                                                               nation of proceedings.
                             required in Newark, New
    Thursday, July 19, 201                                 Jer sey , before the I-Ion.
                             2, at 11:00 am. for a Sen
    that purpose.                                        tencing Hearing. A Writ Stanley R. Chesler, U.S.D.J.. on
                                                                                       of Habeas Corpus should
                                                                                                                 be issued for
    DATED: July 18, 2012
                                                                           S:\MELISSA L. JAMPOL
                                                                          Melissa Jampol
                                                                          Assistant U.S. Attorney
                                                                          Petitioner (973) 645-2772

   Let the Writ Issue.                                      ORDER

  DATED: 8/24

                                                                      .HESLER
                                                        u       States District Judge

                                       WRIT OF HABE
                                                    AS CORPUS
 The United States of Ameri
                           ca    to Warden of the New Jer
                                                            sey Department of Corre
 WE COMMAND YOU tha                                                                ctions, New Jersey State
                             t you have the body of                                                              Prison:

                                     Haleek State, SBI#5131
                                                               42C,
 now confined at the NEW
brought before the Unite JERSEY DEPARTMENT OF CORRECTIO
                        d
Thursday, July 19, 201 States District Court, the Hon. Stanley R.
                                                                  NS, NEW JERSEY STAT
                       2, at 11:00 am, so that                    Chesler, U.S.D.J., at Ne E PRISON,
captioned matter. Immediately upon com         the Detainee   may                         wark, NJ. on
confinement in safe and                   pletion of the proceedin attend a Sentencing Hearing in the above-
                        secure conduct.                           gs, the Detainee will be ret
                                                                                               urned to said place of
                 WITNESS the Honorabl
                 United States District
                                          e Stanley R, Chesler
                                        Judge
                 Newark, New Jersey


DATED:   // //  -




                                                        WILLIAM T. WALSH
                                                        Clerk of the U.S. Distric
                                                                                  t Court
                                                        for the District of New Jer
                                                                                    sey


                                                                 I3puty Cler
